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                              EXHIBIT F

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
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 1                 UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3
 4   - - - - - - - - - - - - - - - - - -
 5   COALITION ON HOMELESSNESS,              )
 6   et al.,                                 )
 7                    Plaintiffs,            ) CASE NO.
 8   vs.                                     ) 4:22-cv-05502-DMR
 9   CITY AND COUNTY OF SAN                  )
10   FRANCISCO, et al.,                      )
11                    Defendants.            )
12   - - - - - - - - - - - - - - - - - -
13
14
15
16             VIDEOTAPED DEPOSITION OF DAVID MARTINEZ
17                    TUESDAY, OCTOBER 15, 2024
18
19
20
21                  BEHMKE REPORTING AND VIDEO SERVICES, INC.
22                        BY:   SUZANNE I. ANDRADE, CSR NO. 10682
23                               550 CALIFORNIA STREET, SUITE 820
24                               SAN FRANCISCO, CALIFORNIA        94104
25                                                    (415) 597-5600

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10             Videotaped deposition of DAVID MARTINEZ,
11   taken on behalf of Defendants, at American Civil
12   Liberties Union Northern California, 39 Drumm Street,
13   Third Floor, San Francisco, California, commencing at
14   9:58 A.M., TUESDAY, OCTOBER 15, 2024, before Suzanne I.
15   Andrade, Certified Shorthand Reporter No. 10682,
16   pursuant to Notice.
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 1   APPEARANCES OF COUNSEL:
 2   FOR PLAINTIFFS:
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 1   APPEARANCES - CONTINUED:
 2   ALSO PRESENT:
 3         KYLE FRIEND, BEHMKE VIDEOGRAPHER
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 1   about the time period between 2018 and today.             Okay?
 2       A.     (Nods head.)
 3       Q.     Does that make sense?
 4       A.     2018 of the year?
 5       Q.     Yes --
 6       A.     Okay.
 7       Q.     -- the year 2018 to today.
 8       A.     Okay.
 9       Q.     So is it fair to say that between 2018 and
10   today, you have had a cell phone for most of the time?
11       A.     Yeah.
12       Q.     Do you have, like, a best estimate of the
13   number of different, like, physical phones you've had
14   between 2018 --
15       A.     Wow.
16       Q.     -- and today?
17       A.     No.    I -- I'd say over ten.
18       Q.     Okay.
19       A.     Because it kept getting stolen.
20       Q.     Yeah.
21              So sometimes I'm going to ask you questions
22   today about your experience from when you were homeless
23   or unsheltered.
24              I'm going to ask you things that seem really
25   like basic or obvious or kind of dumb to you.             But it's

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 1   because we're going to be presenting this case to
 2   somebody who doesn't have your experience.           So some of
 3   questions might seem, like I said, like kind of silly or
 4   dumb.    But I just wanted to explain.       That's why I'm
 5   asking them.
 6              So why is it that you've gone through at least
 7   ten -- you said at least ten cell phones between 2018
 8   and today?
 9       A.     They kept getting stolen.
10       Q.     Okay.
11       A.     Uh-huh.
12       Q.     And when you say "getting stolen," did that
13   mostly happen when you were living on the street versus
14   when you were housed?
15       A.     Yeah.   Uh-huh.
16       Q.     Do you have kind of a --
17       A.     Yes.    I'm sorry.
18       Q.     No worries.
19              Do you have a sense of kind of like how often
20   would a phone get stolen in your experience?
21              Like, how long would you get to keep it before
22   it disappeared?
23       A.     I don't know.     It was different every time.
24       Q.     Okay.   For the time period 2018 through today,
25   I think you said before that you had a cell phone for

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 1       Q.     I think you mentioned before that you're not
 2   sure what your -- the cell phone that you're using right
 3   now, not sure what the number is; is that right?
 4       A.     Yeah.   Yes.
 5       Q.     Are there any of the cell phones you've had
 6   between 2018 and today where you remember the number?
 7       A.     No.
 8       Q.     Okay.   Do you know the company that services
 9   your phone?      Like Verizon, AT&T, Sprint?
10       A.     I think it was Verizon, actually.
11       Q.     And then for the phone you've got now, how did
12   you get it?
13       A.     I got it off the street.
14       Q.     Okay.
15       A.     There's people that give them away on the
16   street.
17       Q.     Yeah.
18              Was this like one of those, like, the
19   government programs?
20       A.     Yeah.
21       Q.     Okay.
22       A.     Yes.
23       Q.     Do you recall for the other phones that you've
24   had between 2018 and today, how did you get them?
25       A.     Same way.

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 1       Q.     Okay.   So let me ask you a better question.
 2              For all of the ten phones that you've had
 3   between 2018 and today, did you get them through a
 4   government, like, free phone program?
 5       A.     Yes.
 6       Q.     This is one of those just really basic
 7   questions.
 8              When you were -- would you refer to yourself as
 9   having been homeless or unsheltered?
10              What's the term that feels right for you?
11       A.     Homeless is fine.
12       Q.     When you were homeless, how did you charge your
13   phone?
14       A.     That -- that was hard.       There's different
15   places you can go, that allow you to go in.           I would go
16   to a coffee shop, buy coffee, and plug in.
17       Q.     I'm going to switch topics and ask you some
18   just kind of general background questions.
19       A.     Mm-hmm.
20       Q.     So have you ever gone by another legal name?
21       A.     No.
22       Q.     Is there ever a time where you go by kind of a
23   nickname or something that you use other than David
24   Martinez?
25       A.     People -- Shadow.

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 1       Q.     Okay.   When you say "another tenant," to me
 2   that means one person.
 3              Do you remember how many people told you that
 4   your placement at 44 McAllister would be temporary?
 5       A.     Just that one.
 6       Q.     Okay.   And when you said in the second sentence
 7   of paragraph 4 in Exhibit 44:       "I believe that at some
 8   point, I might have to move," did you mean move to
 9   another building or move and become homeless again?
10       A.     To another building.
11       Q.     Okay.   I'm not going to ask you any more
12   questions about documents for a minute.
13              Is it fair to say that at some point in time
14   you were homeless?
15       A.     Yes.
16       Q.     What's your best estimate of the time period
17   when you were homeless?
18       A.     It was a long time.     I would say over -- over
19   20 years.
20       Q.     And is it fair to say that the point where you
21   stopped being homeless was in January 2023 when you
22   moved to 44 McAllister?
23       A.     Mm-hmm.
24       Q.     Is that a yes?
25       A.     Yes, yes.

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 1       Q.     Do you have a best estimate of, like, how old
 2   you were when you first became homeless?
 3       A.     No.    Sorry.
 4       Q.     That's fine.
 5              But so you think something longer than 20 years
 6   before January 2023; is that right?
 7       A.     Yes.
 8       Q.     Do you consider yourself homeless today?
 9       A.     No.
10       Q.     Sometimes people might end up in like a
11   Navigation Center or a shelter where you can kind of
12   stay, but it's time-limited.
13              Do you understand that?
14       A.     Yeah.   Yes.
15       Q.     Were there ever times when you were homeless
16   where you were staying in -- inside a building even
17   though it wasn't like a permanent home?
18       A.     Navigation Center, 3rd and 24th, I think was
19   the street.      It's called The Waterfront.       I stayed there
20   for about a year and a half.
21       Q.     Do you recall when you stayed at The
22   Waterfront?
23       A.     No.    I mean...
24       Q.     Do you have, like, an estimate of what decade
25   of your life you were in?      30s?     40s?

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 1   and January of 2023 did anybody ever offer you housing?
 2       A.     No.   I've been offered housing before, other
 3   people, too.     But whenever -- they would tell us to
 4   wait, like, "We're going to get you guys housing," and
 5   we'd say, okay, right?     And they would tell us to wait,
 6   and within an hour they would come back and say there's
 7   nothing -- there's no room for anybody.        So that's
 8   usually how it happened.
 9       Q.     So your best recollection is that there were
10   times between 2018 and 2023 where someone asked if you
11   wanted housing, you said "yes," you waited, and then
12   when they came back, they said, "Sorry, we don't have
13   anything to offer you"?
14       A.     Yeah.   If they came back, yeah.      If they came
15   back, yeah.
16       Q.     Would your answer be any different if I said
17   offered you shelter as opposed to housing?
18       A.     Yeah, same thing.
19       Q.     Okay.   So for some people they use the words to
20   mean something different.
21              For you, if I talk about when someone offers
22   you shelter versus offered housing, those are kind of
23   the same meaning?
24       A.     Yeah.
25       Q.     Okay.   Is it fair to say that you don't have

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 1   any plans to voluntarily leave your housing at 44
 2   McAllister to become homeless?
 3       A.     Oh, yeah.    Mm-hmm.
 4       Q.     Do you currently store any of your stuff
 5   outside of 44 McAllister?
 6       A.     No.
 7       Q.     Is it fair to say that as long as you're
 8   allowed to live in 44 McAllister, you don't have an
 9   intention to store any of your stuff on the street?
10       A.     No.    Oh, yes, I mean.       Oh, I don't know.
11       Q.     Let me ask a better question.
12       A.     No.    I wouldn't store anything, no.
13       Q.     Let me try to ask you a better question.
14              So while you live at 44 McAllister, do you
15   intend to store any of your stuff on the street?
16       A.     No.
17       Q.     I think you mentioned that you'd been in two
18   Navigation Centers before moving into 44 McAllister; is
19   that correct?
20       A.     Yes.
21       Q.     How did you get connected with those Navigation
22   Centers?
23       A.     I -- I just walked -- walked in and asked.
24       Q.     And what happened when you walked in and asked?
25       A.     It took -- they have a -- had a waiting period,

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 1       Q.     Yeah.
 2              I think I also heard you say that you
 3   volunteered with the Coalition on Homelessness when you
 4   could; is that right?
 5       A.     Yeah.
 6       Q.     Can you tell me about that?
 7       A.     Oh, I offered -- I offered to volunteer for
 8   them, but so far I always go -- like, I volunteer when
 9   they would show up.    Like I would walk with them and
10   talk to other homeless people, show them where certain
11   people were, because they would come every once in a
12   while looking for specific people.
13       Q.     Mm-hmm.
14       A.     And, you know, I don't know, but I would know
15   where everybody's at more or less.
16       Q.     Yeah.
17              So to make sure I'm understanding, there are
18   times when members of the Coalition on Homelessness
19   would come out to your community.
20              They were looking for certain people, and you
21   would kind of help connect them; is that right?
22       A.     Yeah.
23       Q.     Any other types of volunteer work you did for
24   the Coalition on Homelessness?
25       A.     No.   Pretty much that was about it, yeah.

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 1       Q.     And did the Coalition on Homelessness tell you
 2   why they were looking for those people?
 3       A.     I guess so, yeah.
 4       Q.     What did they say?
 5       A.     I can't remember.    But I know it was -- that
 6   would definitely be a part of it.       I wouldn't -- I
 7   wouldn't show anybody where anybody was at unless I knew
 8   it was worth it, you know.
 9       Q.     What do you mean when you say unless you knew
10   it was worth it?
11       A.     Like, if it meant their housing or something
12   important, you know, I would definitely show you.
13       Q.     Yeah.
14       A.     But if it was something -- they wouldn't tell
15   me, I wouldn't show you.
16       Q.     Yeah.
17       A.     Because I don't know -- you know, I don't want
18   to put nobody in a bad situation.
19       Q.     Yeah.
20              Did the Coalition on Homelessness ever ask you
21   where people were to help, like, get a declaration for
22   one of their cases?
23       A.     I don't think so.
24       Q.     When's the last time that you recall
25   volunteering to help connect the Coalition on

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 1   Homelessness with other members of your community?
 2       A.     A few years ago.
 3       Q.     Okay.   And we're in 2024.     So a few years ago,
 4   like...
 5       A.     Since I moved in.
 6       Q.     Okay.
 7       A.     So, uh-huh.
 8       Q.     And you moved in in January of 2023, right?
 9       A.     Yes.
10       Q.     Okay.   So your best recollection is that you
11   haven't had any volunteering with the Coalition on
12   Homelessness since at least January 2023?
13       A.     At least, yeah.    I'm still trying to get
14   situated.
15       Q.     Yeah.
16       A.     It's not an easy transition.
17       Q.     Have you ever been to the -- like, the physical
18   building where the Coalition on Homelessness is?
19       A.     I think so.
20       Q.     How many times do you estimate you've been
21   there?
22       A.     Maybe once or twice.    Not very often.
23       Q.     Have you ever participated in, like, a meeting
24   they were organizing somewhere in the community?
25       A.     Not really, no.    I was just waiting for them to

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 1   show up, and I would help them if they needed it.
 2       Q.     Do you consider yourself at any point having
 3   been a member of the Coalition on Homelessness?
 4       A.     I guess.   I guess, yeah.
 5       Q.     When you say "I guess," what do you mean by
 6   that?
 7       A.     Once I started helping, it was -- it was pretty
 8   much, like, the people that would come, they knew me, I
 9   knew them, you know, and it was just -- it was just that
10   simple.    As soon as they asked me, you know, for the
11   help, I would give it to them.
12       Q.     Yeah.
13              So, in other words, the reason you consider
14   yourself a member of the Coalition on Homelessness is
15   because you helped connect them with people?
16       A.     Yeah.   I was one of, like, the main guys, yeah.
17       Q.     Anything else that kind of makes you feel like
18   you were a member of the Coalition on Homelessness?
19       A.     No, not really.    Just -- just the fact that
20   they -- they would come straight to me for certain
21   things.
22       Q.     Yeah.
23       A.     That was...
24       Q.     Did you ever have to, like, sign up somewhere
25   to be a member?

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 1       A.     No, no.
 2       Q.     Did you ever get, like, a membership card?
 3       A.     No.
 4       Q.     Do you ever get, like, membership e-mails from
 5   them?
 6       A.     No.   I think we could, but I don't -- I don't
 7   think I ever did.
 8       Q.     Yeah.
 9       A.     I never paid attention to my e-mails.
10       Q.     Were you ever able to, like, vote on what they
11   were, you know, making decisions about?
12       A.     I -- I guess if I wanted to, but I -- you know,
13   it depends on what I wanted.
14       Q.     Yeah.
15              But did you actually ever vote on something?
16       A.     No, no, I don't think so.
17       Q.     Okay.    Were you ever paid by the Coalition on
18   Homelessness?
19       A.     Mm-mm.
20       Q.     Is that a no?
21       A.     No.   Sorry.    Yes.   I probably wouldn't accept
22   it anyway.
23       Q.     How come?
24       A.     I don't know.     It's just something you do
25   for -- for reasons.       And you don't, you know...

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 1       Q.     When you considered yourself a volunteer with
 2   the Coalition, did they ever provide you any training?
 3       A.     No, mm-mm.
 4       Q.     Any instruct- --
 5       A.     I -- what they needed, I knew more than they
 6   did.   So...
 7       Q.     That's fair.
 8              So other than connecting members of the
 9   Coalition with members of your encampment community, any
10   other types of volunteer work you did for them?
11       A.     No.   That was pretty much it.
12       Q.     Okay.
13       A.     Stuff like that, yeah.
14       Q.     Do you have -- what, if any, understanding do
15   you have about the requirements to be a member of the
16   Coalition on Homelessness?
17       A.     I don't -- I'm not sure of the question.
18       Q.     Yeah.   Thank you for letting me know.
19              So what I'm wondering is, for some
20   organizations there might be a membership requirement,
21   like, maybe you have to be over a certain age or, you
22   know --
23       A.     Okay.   Okay.
24       Q.     Yeah, yeah.
25              So do you have any understanding of whether

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 1   there are any membership requirements?
 2       A.     No, no, no.   I just -- as much as I helped, I
 3   thought, you know --
 4       Q.     Yeah.
 5       A.     That's the way it made me feel.
 6       Q.     Yeah.   No, that's fair.
 7              So then to kind of make sure I'm following,
 8   because you were kind of helping the Coalition, you see
 9   yourself as a member, but, to your knowledge, there
10   wasn't any formal, like, membership criteria?
11       A.     No, no, no, not that I know of.
12       Q.     So what I described is correct?
13       A.     From what I understand, everybody was
14   volunteering their time.     So...
15       Q.     And so from -- just to make sure I'm capturing
16   it, you are not aware of any specific criteria that
17   somebody needs to meet to be a member of the Coalition?
18       A.     No.   I'm pretty sure there is one, but, no,
19   they never -- they never asked me for anything.
20       Q.     Okay.   Do you -- today do you consider yourself
21   to be a member of the Coalition on Homelessness?
22       A.     I guess if they ever needed me, yeah, I will
23   probably help.
24       Q.     This is another one of those basic questions.
25              Why would you help the Coalition if they ever

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 1   needed you?
 2       A.     I don't know.     Just being homeless needs a lot
 3   of help.    People are using government money and stuff
 4   like that the wrong way.       A lot of people aren't getting
 5   the help they supposed -- they should be getting.              And
 6   so whenever I can help, I help.         I mean, you see
 7   commercials all the time, you know.
 8       Q.     Do you know, have you ever heard of the
 9   Coalition on Homelessness Human Rights Working Group?
10       A.     No.
11       Q.     Have you ever attended any meetings organized
12   by the Coalition on Homelessness?
13       A.     Mm-mm.    No.   Sorry.   No.
14       Q.     Have you ever talked about this lawsuit with
15   anybody from the Coalition on Homelessness?
16       A.     Mm-mm.    No.
17       Q.     Did the Coalition on Homelessness ask you to be
18   a plaintiff in this lawsuit?
19       A.     No.
20       Q.     Couple of quick questions, and then maybe we'll
21   take a lunch break.
22              Have you ever been employed by the City and
23   County of San Francisco?
24       A.     No.
25       Q.     Do you have any general feelings towards the

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 1              You keep your medication?
 2       A.     Yeah.
 3       Q.     What about, like, your ID, documents like that?
 4       A.     Oh, yeah.    I try to carry that with me, but,
 5   again, I forgot to...
 6       Q.     Yeah.
 7              But in terms of where you keep it, either it's
 8   on your person or it's in the apartment?
 9       A.     Yeah.   It's either in my wallet, yeah.
10       Q.     What types of items did you keep in your tent
11   when you were living on the street in San Francisco?
12       A.     More or less the same stuff, I mean, but if it
13   was electronic, I tried not to have anything electronic,
14   yeah.
15       Q.     And why was that?
16       A.     I wasn't -- because it's hard -- it's hard to
17   charge stuff.      It's hard to keep stuff energized.
18       Q.     Were you worried about electronics getting
19   stolen because they're a little more expensive?
20       A.     Yeah, that, too.     But main reason just the
21   simple -- the simple fact it was hard to charge
22   anything, even the phone.       You know, you weren't lucky
23   all the time.      And I didn't know which spots at the
24   library.    For some reason, everybody goes to the
25   library.    I just didn't think about it.

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 1       Q.     Were there ever times where you had more than
 2   one phone on, like, the same day?
 3       A.     Yeah, yeah.
 4       Q.     Why would you have more than one phone?
 5       A.     I -- I'm a -- I'm a -- I consider myself a
 6   gamer.    I like games, you know, video games.           So I
 7   always had one for games and one for whatever, maybe
 8   business, you know.
 9       Q.     And this will probably reveal that I don't play
10   a lot of video games.
11              But why would you need a different phone for
12   that?
13       A.     Because a lot of video games might have
14   viruses, and the last thing you want is to have all your
15   information, all your pictures that you care about on a
16   phone that ends up with a virus.        You lose everything.
17       Q.     I see.    I see.
18              So you were worried about viruses from the
19   phone game, so you had like kind of a separate game
20   phone versus the one you use for everything else?
21       A.     Yeah.
22       Q.     So were there ever times where you had more
23   than two cell phones on the same day, then?
24       A.     Not really, no.
25       Q.     Okay.    And when you left your tent, like if you

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 1   STATE OF CALIFORNIA            )
 2                                  ) ss.
 3   COUNTY OF SAN FRANCISCO        )
 4               I hereby certify that the witness in the
 5   foregoing deposition, DAVID MARTINEZ, was by me duly
 6   sworn to testify to the truth, the whole truth and
 7   nothing but the truth, in the within-entitled cause;
 8   that said deposition was taken at the time and place
 9   herein named; and that the deposition is a true record
10   of the witness's testimony as reported by me, a duly
11   certified shorthand reporter and a disinterested person,
12   and was thereafter transcribed into typewriting by
13   computer.
14               I further certify that I am not interested in
15   the outcome of the said action, nor connected with nor
16   related to any of the parties in said action, nor to
17   their respective counsel.
18               IN WITNESS WHEREOF, I have hereunto set my
19   hand this 28th day of October, 2024.
20   Reading and Signing was:
21   _x_ requested    ___ waived     ___ not requested
22
23
24
25                 SUZANNE I. ANDRADE, CSR NO. 10682

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